                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA ex rel. )
JEFFREY H. LIEBMAN and DAVID M.  )
STERN, M.D.,                     )                          Case No.: 3:17-cv-00902
                                 )
Plaintiff,                       )                          District Judge William L.
                                 )                          Campbell, Jr.
v.                               )
                                 )                          Magistrate Judge Barbara D.
METHODIST LE BONHEUR HEALTHCARE )                           Holmes
and METHODIST HEALTHCARE-MEMPHIS )
HOSPITALS,                       )
                                 )
Defendants.                      )

              METHODIST’S MOTION TO EXCLUDE DECLARATION OF
               MICHAEL J. PETRON, CPA, CFE AND FOR SANCTIONS

       Pursuant to Federal Rule of Civil Procedure 37, Defendants Methodist Le Bonheur

Healthcare and Methodist Healthcare-Memphis Hospitals (collectively, “Methodist”) move to

exclude the proposed testimony of Michael J. Petron, CPA, CFE as set forth in his Declaration

(the “Declaration”) and its associated Charts. The Declaration and Charts purport to offer

undisclosed and untimely expert testimony under the guise of Federal Rule of Evidence 1006 and

must be excluded in their entirety, and should not be considered in connection with the United

States’ Response to Methodist’s Motion for Summary Judgment, any hearing, or trial.

       As set forth fully in the accompanying memorandum of law, the Declaration and Charts do

not satisfy the requirements of F.R.E. 1006 because: (1) they do not qualify as “summaries” where

Petron testified that he used his specialized knowledge, education, and expertise in developing the

calculations and they appear as expert testimony on their face; (2) the government has not met its

burden of proving the admissibility of the data that the charts purport to summarize; and (3) the

government has not met its burden of showing that the Charts are accurate and non-prejudicial.




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Additionally, the government failed to disclose Petron as an expert witness and government

actively misled Methodist as to his knowledge, anticipated testimony, and subjects appropriate for

deposition.

       Because the government has failed to follow Fed. R. Civ. P. 26 on properly designating

Petron as an expert witness and failed to follow F.R.E. 1006 on putting forward summary evidence,

the Court should exclude his testimony as set forth in the Declaration and associated Charts and

award attorneys’ fees to Methodist.

Dated: June 2, 2023.


                                                    Respectfully submitted,

                                                    /s/ Brian D. Roark
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                                 CERTIFICATE OF SERVICE


       I hereby certify that a true and exact copy of the foregoing has been served on the following
counsel via the Court’s CM/ECF email notification system on this the 2nd day of June, 2023:

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                                                             /s/ Brian D. Roark




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